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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                    )       CASE NO. 4:07CR494
                                             )
                                             )      JUDGE PETER C. ECONOMUS
                      Plaintiff,             )      Magistrate Judge George J. Limbert
                                             )
               v.                            )
                                             )
ANA FARIAS, aka ANA FARIAS                   )       REPORT AND RECOMMENDATION
CERVALLOS,                                   )       OF MAGISTRATE JUDGE
                                             )
                      Defendant.             )



       Pursuant to General Order 99-49, this case was referred to United States Magistrate Judge

George J. Limbert for the purposes of receiving, on consent of the parties, Defendant’s offer of

a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim

record of the proceedings to be prepared, referring the matter for presentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered. The following, along with the transcript or other record

of the proceedings submitted herewith, constitutes the Magistrate Judge’s Report and

Recommendation concerning the plea of guilty proffered by Defendant.

       1.      On September 22, 2008, Defendant Ana Farias, accompanied by Attorney Samuel

Amendolara, proffered a plea of guilty to Counts 1 through 4 of the indictment.
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        2.     Prior to such proffer, Defendant Ana Farias was examined as to her competency,

advised of the charges and consequences of conviction, informed that the Court is not bound to

apply the Federal Sentencing Guidelines but must consult the guidelines and take them into

consideration when it imposes the sentence and of the possibility of a departure from the

Guidelines, notified of her rights, advised that she was waiving all of her rights except the right

to counsel, and, if such were the case, her right to appeal, and otherwise provided with the

information prescribed in Fed. Crim. R. 11.

        3.     Counsel informed the Court that there was a written, signed plea agreement

between the parties. The undersigned was also advised that no commitments or promises have

been made by any party, and no other agreements, written or unwritten, have been made between

the parties.

        4.     The undersigned questioned Defendant Ana Farias under oath about the knowing,

intelligent and voluntary nature of the plea of guilty, and the undersigned believes that

Defendant Ana Farias’ plea was offered knowingly, intelligently, and voluntarily.

        5.     The parties provided the undersigned with sufficient information about the

charged offenses and Defendant Ana Farias’ conduct to establish a factual basis for the plea.

        In light of the foregoing, and the record submitted herewith, the undersigned concludes

that Defendant Ana Farias’ plea was knowing, intelligent, and voluntary and all requirements

imposed by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.




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       Accordingly, the undersigned recommends that the plea of guilty be accepted and a

finding of guilty be entered by the Court.


Date: September 22, 2008                           /s/George J. Limbert
                                              George J. Limbert
                                              United States Magistrate Judge


       ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of
Court within ten (10) days of service of this notice. Failure to file objections within the specified
time WAIVES the right to appeal the Magistrate Judge’s recommendation. See Thomas v. Arn,
474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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